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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF FLORIDA
                    TALLAHASSEE DIVISION


ALIEDA MARON, individually and            )
on behalf of all others similarly         )
situated,                                 )
                                          )
            Plaintiff,                    )
                                          )     CIVIL ACTION
      v.                                  )
                                          )     No. ________________
JIMMY T. PATRONIS, JR., in his
                                          )
official capacity as the Chief
                                          )
Financial Officer of the State of
                                          )
Florida,
                                          )
             Defendant.


CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
     Plaintiff Alieda Maron (“Plaintiff”), individually and on behalf of

all others similarly situated, files this Class Action Complaint and

Demand for Jury Trial (the "Complaint") against Defendant Jimmy

T. Patronis, Jr., Chief Financial Officer of the State of Florida in his

official capacity (the “State” or “Defendant”), and states as follows:

                            INTRODUCTION

     1.     Plaintiff     brings   this       action   challenging      the

constitutionality under the Fifth and Fourteenth Amendments to the

United States Constitution and Article X, Section 6 of the Florida


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Constitution of Section 717.124(4)(a) of the Florida Disposition of

Unclaimed Property Act, Fla. Stat. Chapter 717 (the “Act”). That

section requires the State to take for public use, without payment of

just compensation to its owners, private property that the State

classifies as “presumed unclaimed” pursuant to other provisions of

the Act. This Complaint seeks declaratory and further necessary or

proper relief, including an injunction, under 42 U.S.C. § 1983, 22

U.S.C. §§ 2201 & 2202, and the United States and Florida

Constitutions on behalf of all current owners of unclaimed property

held by the State in the form of money who will reclaim their property

in the future.

     2.     The Act applies to personal property that is held by a

third party (the “holder”), for example, a bank, insurance company,

corporation, or public utility. Under the Act, such property is

“presumed unclaimed” if the owner, as defined in the Act, has not

communicated in writing with the holder concerning the property or

has not otherwise given an indication of interest in the property

within certain time limits provided in the Act. Property that is

“presumed unclaimed” must be delivered to the State’s custody.



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     3.    After it takes non-cash property, the State must promptly

sell it to turn it into cash. The owner of dividend-bearing securities is

entitled to recover any dividends that accrue prior to the State’s sale

of the securities.

     4.    The Takings Clause of the Fifth Amendment to the United

States    Constitution   (the   “Fifth   Amendment”)      prohibits     the

government from using private property for public purposes without

compensation to the property owner as follows: “nor shall private

property be taken for public use, without just compensation.” The

Fifth Amendment is applied to the States by the Due Process Clause

of the Fourteenth Amendment to the United States Constitution (the

“Fourteenth Amendment”).

     5.    The Takings Clause of Article X, Section 6(a) of the Florida

Constitution (“Article X, Section 6(a)”) contains a similar proscription:

“No private property shall be taken except for a public purpose and

with full compensation therefor paid to each owner or secured by

deposit in the registry of the court and available to the owner.”

     6.    Nevertheless, under the Act, “presumed unclaimed” cash,

cash proceeds from the sale of “presumed unclaimed” non-cash, and



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any earnings on such property are all used to fund State programs or

operations. While an owner who files a valid claim may reclaim

property from the State, Section 717.124(4)(a) of the Act provides that

an owner may recover only the cash turned over to the State by the

holder (or the cash proceeds from the sale of non-cash property). Put

another way, Fla. Stat. § 717.124(4)(a) prohibits the State from

paying any interest reflecting the time value or other value of an

owner’s property.

     7.   Accordingly, the Act effectively provides the State with an

interest-free loan of unclaimed private property funds that the Act

directs to be co-mingled with the State’s School Fund while in the

State’s custody. The State otherwise pays market rates to borrow

money.

     8.   The State currently holds more than $3.5 billion in

unclaimed property funds, and it uses that unclaimed property freely

to fund State obligations. The State paid out $358 million on

unclaimed property claims in 2021. Accordingly, Plaintiff and tens of

thousands of Florida citizens who will claim their presumed

abandoned property in the future will have their Constitutional rights



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violated when the State refuses to pay them just compensation for the

public use of their property.

     9.    The Court of Appeals for the Seventh Circuit in Kolton v.

Frerichs, 869 F.3d 532 (7th Cir. 2017) considered the Illinois

unclaimed property act, which, like Florida’s, allowed the state to use

unclaimed property without paying compensation to the property’s

owners for its use. It held that act violated the Fifth Amendment’s

Takings Clause, made applicable to Illinois and the other states

through the Due Process Clause of the Fourteenth Amendment

because it denied property owners just compensation for the benefit of

their property's use while it was in state custody. The Seventh Circuit

also held that the state’s obligation to pay just compensation for the

public use of unclaimed private property does not depend on whether

the property was earning interest before it was delivered to the state.

     10.   In this Complaint, Plaintiff seeks a declaration that when

the State takes and uses unclaimed property for public purposes and

refuses to pay just compensation for its use pursuant to Section

717.124(4)(a) of the Act, it commits a taking of Plaintiff’s and the

Class’s property in violation of the Fifth Amendment and Article X,



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Section 6 and that the State is, therefore, required to pay Plaintiff and

the Class for the time value of their property or other value of its use.

Necessarily, therefore, Plaintiff seeks a declaration that Section

717.124(4)(a) of the Act is unconstitutional. Plaintiff also seeks

further necessary and proper relief to implement that declaration,

including, but not limited to, an injunction requiring payment of just

compensation for the time or other value of their property to Plaintiff

and the Class when their property is returned in the future.

                              PARTIES

     11.   Plaintiff Alieda Maron is and has been at all relevant

times a citizen and resident of Saint Petersburg, Florida. Plaintiff is

an “owner” of property, as defined in Fla. Stat. § 717.101, that is

currently held in custody pursuant to the Act by the State.

     12.   Defendant Jimmy T. Patronis, Jr., is the Chief Financial

Officer of the State of Florida, the head of State’s Department of

Financial Services. In that position, pursuant to the Act, Defendant,

is and has been in charge of supervising and administering the Act.

Plaintiff sues Defendant Patronis in his official capacity. In that




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capacity, he resides in this District and is subject to suit in this

District.

                   JURISDICTION AND VENUE

     13.    The claims in this Complaint arise under the Fifth and

Fourteenth Amendments to the United States Constitution and 42

U.S.C. § 1983. As such, jurisdiction is proper in this Court pursuant

to 28 U.S.C. § 1331, 28 U.S.C. § 1343 and 28 U.S.C. § 1367(a).

      14. Venue is proper in this District because Defendant is

deemed to reside in and is subject to suit in this District, and because

a substantial portion of the events that underlie the claims asserted

here occurred in this District.

                     STATEMENT OF FACTS

A. The Act and Its Operation

     15.    The Act contains many provisions modeled after a Uniform

Unclaimed     Property   Act   promulgated     by   the   Uniform       Law

Commission.     The Act, as alleged above, provides that private

property is “presumed unclaimed” if the owner or apparent owner has

not communicated in writing with the holder concerning the property

or has not otherwise given an indication of interest in the property for



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a certain period of time. Fla. Stat. § 717.102. The purpose of the Act

is twofold: first, to reunite owners with their property, and second, to

allow the State, rather than the holder, to use the property before it

is reunited with its owner without paying any compensation for its

use.

       16.   Once a holder determines property in its possession is

“presumed unclaimed” within the meaning of the Act, the holder is

required to attempt to notify the owner and, if the property is not

claimed by the owner, to pay or deliver the property into the custody

of the State. Fla. Stat. § 717.119(1). If the property is not cash,

securities or negotiable instruments, the State “shall” sell the

property within a reasonable time either to the highest bidder at a

public sale or, if the property is publicly traded securities, at

prevailing market prices. Fla. Stat. § 717.122(1). The unclaimed

property and proceeds from the sale of unclaimed property are to be

held in custody for the owner, who can reclaim the property from the

State at any time, but without payment of any compensation for the

State’s use of that property during its time in the State’s custody. Fla.

Stat § 717.124(4)(a).



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      17.   The Act directs the State to deposit all funds received

pursuant to the Act, including funds from the liquidation of non-cash

property, in the State’s School Fund, except for mandatory deposits to

an “Unclaimed Property Trust Fund” containing a sum “not exceeding

$15 million” from which the State shall pay owner claims and the

State’s costs incurred “in administering and enforcing” the Act. Fla.

Stat § 717.123(1). When claims plus administrative expenses exceed

the sum in the Unclaimed Property Trust Fund, funds are transferred

from the State’s School Fund to that trust fund for those purposes.

Id.

      18.   The State acknowledges that it holds over $3.5 billion of

unclaimed property and that it paid out $358 million in unclaimed

property claims in 2021. The State receives, as custodian under the

Act, more than $100 million in new unclaimed property every year.

      19.   Thus, under the Act, at least $85 million in unclaimed

property is transferred to the custody of the State pursuant to the Act

and deposited into the State’s School Fund every year. There it earns

interest, dividends, or other accruals and/or is held in interest-

bearing accounts or other investment instruments.           By law, such



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interest, dividends, accruals, and other investment returns must

inure to the sole benefit of the State’s School Fund.

     20.   Unlike an escheat statute, in which actual title to

abandoned property may eventually vest in the State after certain

due process procedures are followed, the Act is purely custodial in

nature, and title to the presumed abandoned property is never

transferred from the owner to the State. Thus, title and ownership

always remain with the original owner of the property.

     21.   The State does not compensate an owner of unclaimed

property for lost interest, dividends, or other earnings or accruals on

the property after deposit with the State or the loss of the beneficial

use of the property or its time value while it is in State custody. So,

the State does not pay just compensation to any owner for the State’s

use of their private unclaimed property while it is in State custody.

Both the State’s “State Treasure Hunt” website and Fla. Stat. §

717.124(4)(a) make this clear: “[I]f a claim is determined in favor of

the claimant, the State shall deliver or pay over to the claimant the

property or the amount the department actually received or the




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proceeds if it has been sold by the department ….” Fla. Stat. §

717.124(4)(a)

     22.    In Kolton v. Frerichs, 869 F.3d 532 (7th Cir.2017), the U.S.

Court of Appeals for the Seventh Circuit considered a Fifth

Amendment challenge to Illinois’ unclaimed property statute, which

like the State’s, paid no compensation to property owners for the

state’s use of unclaimed property while in state custody. The Court

reasoned:

     The Supreme Court has held that the Takings Clause
     protects the time value of money just as much as it does
     money itself. Brown v. Legal Foundation of Washington,
     538 U.S. 216,235, 123 S. Ct. 1406, 155 L. Ed. 2d 376 (2003);
     Phillips v. Washington Legal Foundation, 524 U.S. 156,
     165-72, 118 S. Ct. 1925, 141 L. Ed. 2d 174 (1998); Webb's
     Fabulous Pharmacies, Inc. v. Beckwith, 449 U.S. 155, 162-
     65, 101 S. Ct. 446, 66 L.Ed. 2d 358 (1980). In Cerajeski v.
     Zoeller, 735 F.3d 577 (7th Cir. 2013), we applied these
     precedents to an Indiana statute like the Illinois statute in
     this case. We held that a state may not take custody of
     property and retain income that the property earns. A state
     may charge a bookkeeping fee, which for small accounts
     may exceed the property's time value, but must allow the
     owner the benefit of the property's earnings, however large
     or small they turn out to be.

Id. at 578-80.

     23.    The essential features of the Illinois unclaimed property

act are identical to the State’s. The Illinois act allowed for no payment


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to property owners for the state’s use of the owner’s property while in

the state’s custody. Here, too, the Act does not allow for the payment

of compensation to property owners for the State’s use of unclaimed

property for public purposes while the property is in the State’s

custody pursuant to the Act. Rather, State law requires that earnings

on unclaimed property while in State custody inure to the sole benefit

of the State’s School Fund.

B.   Plaintiff's Property.

     24.   According to the State’s online records, it holds Ms.

Maron’s property in custody. The State describes that property as

“premium refunds on individual,” and it is in the amount of $26.24.

     25.   While the State has held Ms. Maron’s property in custody,

pursuant to the Act, it has used the property for public purposes,

including by investing the property and earning interest, and

otherwise using it to fund the State’s operations and programs,

thereby relieving the State from borrowing funds at market rates to

satisfy its obligations.

     26.   Under the Act, when Plaintiff claims her property, as she

intends to do, the State will pay Plaintiff a cash payment equal to the


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amount of Plaintiff’s unclaimed property the State received, but it will

not pay her just (or any) compensation for the State’s use of that

property during the time the State has had custody of the property.

                  CLASS ACTION ALLEGATIONS

     27.    Plaintiff brings this action on her own behalf and as a class

action pursuant to Rule 23(a) and Rule 23(b)(1)(A) & (b)(2) of the

Federal Rules of Civil Procedure, seeking declaratory and prospective

injunctive relief on behalf of the following class (the "Class"):

     All persons or entities (including their heirs, assignees,
     legal representatives, guardians, administrators, and
     successors in interest) who are owners of unclaimed
     property being held in custody by the Chief Financial
     Officer of the State of Florida in the form of money under
     the State Disposition of Unclaimed Property Act, Fla.
     Stat. Ch. 717, as of the date of the complaint or who
     become owners of unclaimed property so held during the
     pendency of this litigation, and who will in the future
     reclaim their property from the State.

     28.   The members of the Class are so numerous that joinder of all

members is impracticable. Currently the State holds more than $3.2

billion in unclaimed property in custody, with hundreds of millions of

dollars of additional unclaimed property flowing to the State

annually. Given that most of the property amounts held are small,

the number of persons or entities who own property presumed


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abandoned and held in custody by the State under the Act necessarily

must be in the hundreds of thousands. Indeed, given that the State

paid out $358 million in unclaimed property claims in 2021, it is

reasonable to expect hundreds of thousands of people to make claims

for the return of their property in the next few year alone. For

example, if the average amount per person of property reclaimed is

$1,000 (and it is likely much less than that), that would result in

358,000 Class members in just one year.

     29.    Plaintiff's claims are typical of the claims of the members

of the Class. Plaintiff's property, like that of the other Class members,

is currently being held in custody under the Act by the State. Like all

the other members of the Class, absent relief from this Court, when

Plaintiff claims her property from the State, she will not receive just

(or any) compensation for its use by the State. Therefore, Plaintiff

suffers from the same deprivation of her Constitutional rights as each

Class member she seeks to represent, and she seeks to recover for that

deprivation under the same legal theories as the rest of the Class.

     30.   Plaintiff will fairly and adequately protect the interests of

the Class because she has no conflicts of interest with the other



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members of the Class, she is ready, willing and able to fulfill her

responsibilities as a class representative, and she has retained

counsel competent and experienced in class action litigation to

represent her and the Class.

     31.   There are questions of law and fact common to the Class,

including, but not limited to, the following:

           a.    whether the State's use of Class members’ property for

                 public purposes to fund its operations, and to earn and

                 retain interest, dividends and other earnings or

                 accruals on that property, constitutes a taking for which

                 just compensation is due under the United States and

                 Florida Constitutions;

           b.    whether the State will refuse to pay just compensation

                 to Class members in the future when they reclaim their

                 property; and

           c.   the appropriate declaratory and further necessary or

                proper injunctive or other relief the Court should

                award to Class members, including the measure of




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                  the time value or other value of their property the

                  Court should require the State to pay them.

     32.     The State has acted and refused to act, and will continue

to do so in the future, on grounds that apply generally to the Class

such that declaratory relief is appropriate to the Class as a whole,

making certification pursuant to Rule 23(b)(2) appropriate.

     33.     The State must treat all Florida citizens equally in its

handling of their unclaimed property. Accordingly, certification

pursuant to Rule 23(b)(1)(A) is also appropriate, given that

prosecution of separate actions by individual Class members would

create a risk of inconsistent or varying adjudications with respect to

individual    Class   members    that   could   establish   incompatible

standards of conduct for the State.

                        COUNT I
      DECLARATORY AND FURTHER NECESSARY OR
       PROPER RELIEF ON BEHALF OF PLAINTIFF
       AND THE CLASS PURSUANT TO 28 USC § 1983
          AND 28 U.S.C §§ 2201 & 2202 BASED ON
       UNCONSTITUTIONALITY UNDER THE FIFTH
                     AMENDMENT

     34.     Plaintiff realleges paragraphs 1 through 33 as though fully

set forth herein.



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     35.   Section   717.124(4)(a)    of   the Act violates the Fifth

Amendment as applied to the State by the Fourteenth Amendment

because it requires the State to use for public purposes unclaimed

property transferred to its custody without payment of just (or any)

compensation to property owners for that use when they reclaim their

property. Accordingly, an actual controversy exists between Plaintiff and

Class members and the State as to whether the State must, pursuant to

the Constitution, pay them, when they reclaim their property, just

compensation for the time value or other value of their property while it

is in the State’s custody and being used by the State for public purposes.

     36.   The State, under color of the Act, has already and will

continue in the future to violate 42 U.S.C. § 1983 by subjecting Plaintiff

and Class members to the deprivation of their rights under the Fifth and

Fourteenth Amendments to just compensation for the use of their

property for public purposes.

     37.   Plaintiff and the Class are, accordingly, pursuant to 42 U.S.C.

§ 1983 and 28 U.S.C. § 2201, entitled to a declaration that Section

717.124(4)(a) of the Act prohibiting the payment of the time or other

value of their property to Plaintiff and the Class violates the Fifth



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Amendment and Section 1983 and, thus, that the State must pay them

for the time or other value of their property while it was in the State’s

custody and being used for public purposes. The time or other value the

Court declares the State must pay when it pays claims for unclaimed

property could be measured by the average rate earned by funds in the

School Fund during the time the property was in the State’s custody or

the average rate at which the State borrowed money during the time the

property was in the State’s custody or the rate then payable as

prejudgment interest as set by Defendant pursuant to Fla. Stat. §

55.03(1) or such other rate the Court finds appropriate.

     38.   Pursuant to Fed. R. Civ. P. 57, Plaintiff and the Class

request the Court to order a speedy hearing on their request for a

declaratory judgment following class certification. As to any issue not

decided by the Court as a matter of law, Plaintiff and the Class

request a jury trial.

     39.   After entry of the declaratory judgment, pursuant to 28

U.S. § 2202, Plaintiff and the Class will seek such further necessary

or proper relief against the State as the Court finds appropriate,

including, but not limited to, an injunction requiring the State to pay



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the time or other value of their lost property to Class members who

reclaim their property in the future. Because the Eleventh

Amendment prohibits Plaintiff and the Class from pursuing damages

from the State in this Court, they will suffer irreparable damage and

will have no adequate remedy at law if the State is not compelled to

refrain from further violations of the Fifth Amendment and pay

Plaintiff and the Class for the time value of their property while in

State custody and being used for public purposes when they reclaim

that property.

                        COUNT II
      DECLARATORY AND FURTHER NECESSARY OR
       PROPER RELIEF ON BEHALF OF PLAINTIFF
        AND THE CLASS PURSUANT TO FLORIDA
      CONSTITUTION ARTICLE X, SECTION 6(a) AND
           28 U.S.C §§ 2201 & 2202 BASED ON
       UNCONSTITUTIONALITY UNDER ARTICLE X,
                      SECTION 6(a)

     40.   Plaintiff realleges paragraphs 1 through 33 as though fully

set forth herein.

     41.   Section 717.124(4)(a) of the Act violates Article X, Section

6(a) because it requires the State to use for public purposes unclaimed

property transferred to its custody without payment to property owners

of just (or any) compensation for that use when they reclaim their


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property. Accordingly, an actual controversy exists between Plaintiff and

Class members and the State as to whether the State must, pursuant to

the Florida Constitution, pay them, when they reclaim their property,

just compensation for the time or other value of their property while it

was in the State’s custody and being used by the State for public

purposes.

     42.    Plaintiff and the Class are, accordingly, pursuant to Article X,

Section 6(a) and 28 U.S.C. § 2201, entitled to a declaration that Section

717.124(4)(a) of the Act prohibiting the payment of the time value of

their property to Plaintiff and the Class violates Article X, Section 6(a)

and, thus, that the State must pay them for the time or other value of

their property while it was in the State’s custody and being used for

public purposes. The time or other value the Court declares the State

must pay when it pays claims for unclaimed property could be measured

by the average rate earned by funds in the School Fund during the time

the property was in the State’s custody or the average rate at which the

State borrowed money during the time the property was in the State’s

custody or the rate then payable as prejudgment interest as set by




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Defendant pursuant to Fla. Stat. § 55.03(1) or such other rate the Court

finds appropriate.

     43.   Pursuant to Fed. R. Civ. P. 57, Plaintiff and the Class

request the Court to order a speedy hearing on their request for a

declaratory judgment following class certification. As to any issue not

decided by the Court as a matter of law, Plaintiff and the Class

request a jury trial.

     44.   After entry of the declaratory judgment, pursuant to 28

U.S. § 2202, Plaintiff and the Class seek such further necessary or

proper relief against the State as the Court finds appropriate,

including, but not limited to, an injunction requiring the State to

refrain from further violations of the Florida Constitution and to pay

Plaintiff and the Class for the time or other value of their property

while in State custody and being used for public purposes when they

reclaim their property in the future.

                        REQUEST FOR RELIEF

     WHEREFORE, Plaintiff Alieda Maron requests the Court to

grant her and the Class relief against the State as follows:




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     A.    An order certifying this action to proceed as a class action

pursuant to Rule 23(a) and 23(b)(1)(A) and/or 23(b)(2) of the Federal

Rules of Civil Procedure on behalf of the Class defined above, appointing

Plaintiff as Class representative, and appointing her counsel as Class

Counsel.

     B.    A judgment declaring that Section 717.124(4)(a) of the Act

prohibiting the payment of the time or other value of their property to

Plaintiff and the Class violates the Fifth Amendment and Section 1983

and, thus, that when they reclaim their property, the State must pay

them for the time or other value of their property while it was in the

State’s custody and being used for public purposes.

     C.    A judgment declaring that Section 717.124(4)(a) of the Act

prohibiting the payment of the time or other value of their property to

Plaintiff and the Class violates Article X, Section 6(a) of the Florida

Constitution and, thus, that when they reclaim their property, the State

must pay them for the time or other value of their property while it was

in the State’s custody and being used for public purposes.




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     D.    A judgment declaring the measure of the time or other value

of their property that the State must pay to Plaintiff and the Class when

they reclaim their property.

     E.    A judgement awarding Plaintiff and the Class such further

necessary or proper relief against the State as the Court finds

appropriate, including, but not limited to, an injunction requiring the

State to pay the time or other value of their property to Plaintiff and

the Class when they reclaim their property in the future.

     F.    A judgment awarding Plaintiff her attorneys' fees and

reimbursement of their expenses pursuant to 42 U.S.C. § 1988 and/or

applicable principles of equity; and

     J.    A judgment awarding Plaintiff and the Class such other and

further relief to which they justly be entitled.


DATED: July 15, 2022.          /s/Scott R. Jeeves____________
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